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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

ELISABETH CLEVELAND, on behalf of herself
and all others similarly situated,                      Case No. 20-cv-1906-WMW-KMM
                             Plaintiff,
        v.

WHIRLPOOL CORPORATION,

                             Defendant.


     PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
             OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

       Plaintiff Elisabeth Cleveland respectfully submits this notice of supplemental authority to

identify a recent decision relating to her opposition to Defendant’s motion to dismiss (ECF No.

32). There are currently several ongoing cases across the country against Whirlpool alleging

substantially similar allegations to the present action that certain dishwashers manufactured by

Whirlpool contain a defect. (See ECF No. 38 & 42 (identifying related actions)).

       On April 28, 2021, the United States District Court for the Northern District of Illinois,

granted in part and denied in part Whirlpool’s motion to dismiss in a nearly identical action

pending in the related case of Redmon v. Whirlpool, No. 1:20-cv-06626 (N.D. Il. Apr. 28, 2021).

The opinion is attached hereto as Exhibit A.


DATED: April 30, 2021                               Respectfully submitted,

                                                    /s/ Michelle J. Looby
                                                    Michelle J. Looby (MN Lic. #0388166).
                                                    GUSTAFSON GLUEK PLLC
                                                    Canadian Pacific Plaza
                                                    120 South 6th Street, Suite 2600
                                                    Minneapolis, MN 55402
                                                    Telephone: (612) 333-8844
                                                    mlooby@gustafsongluek.com
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                                 Harper T. Segui*
                                 WHITFIELD BRYSON, LLP
                                 900 W. Morgan Street
                                 Raleigh, NC 27603
                                 T: 919-600-5000
                                 harper@whitfieldbryson.com

                                 Gregory F. Coleman*
                                 Rachel Soffin*
                                 Lisa A. White*
                                 GREG COLEMAN LAW PC
                                 800 S. Gay Street, Suite 1100
                                 Knoxville, TN 37929
                                 T: 865-247-0080
                                 F: 865-522-0049
                                 greg@gregcolemanlaw.com
                                 rachel@gregcolemanlaw.com
                                 lisa@gregcolemanlaw.com

                                 Attorneys for Plaintiff and Putative Class

                                 * Admitted pro hac vice.
